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                                              Corrected

                In the United States Court of Federal Claims
                                           No. 17-1542 C
                                        Filed: July 11, 2022


LOCAL INITIATIVE HEALTH
AUTHORITY FOR LOS
ANGELES COUNTY, d/b/a
L. A. CARE HEALTH PLAN


                                                               RULE 54(b)
                                                               JUDGMENT
           v.

THE UNITED STATES


        Pursuant to the court’s Order, filed July 8, 2022, directing the entry of judgment pursuant
to Rule 54(b), there being no just reason for delay, and the parties’ stipulation for entry of partial
final judgment, filed April 28, 2022,

        IT IS ORDERED AND ADJUDGED this date, pursuant to Rule 58, that plaintiff recover
of and from the United States the amount of $554,424.78 for cost share reductions for the 2017
benefit year.


                                                       Lisa L. Reyes
                                                       Clerk of Court

                                               By:     s/ Debra L. Samler

                                                       Deputy Clerk
